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                  UNITED STATES DISTRICT COURT
                                District of Kansas
                                  (Wichita Docket)

UNITED STATES OF AMERICA,

                          Plaintiff,

             v.                                 CASE NO. 6:21-cr-10038-JWB-01-02-03

JESUS MONTES
a/k/a Speedy,
ALEJANDRO ARROYO, and
JORGE SANTANA
a/k/a Serio,

                          Defendants.



                                INDICTMENT

      THE GRAND JURY CHARGES:

                                         COUNT 1
                            CONSPIRACY TO DISTRIBUTE
                            A CONTROLLED SUBSTANCE
                                  [21 U.S.C. § 846]

      From on or about July, 2020, continuing through October, 2020, in the District of

Kansas, and elsewhere, the defendants,

                               JESUS MONTES
                                 a/k/a Speedy,
                           ALEJANDRO ARROYO, and
                              JORGE SANTANA
                                  a/k/a Serio,

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knowingly and intentionally combined, conspired, confederated and agreed together and

with each other, and with other persons known and unknown to the Grand Jury, to

knowingly and intentionally possess with intent to distribute and to distribute fifty (50)

grams or more of methamphetamine, a controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1). With respect to each defendant, their conduct as members

of the methamphetamine conspiracy charged in Count One, which includes the reasonably

foreseeable conduct of other members of the conspiracy charged in Count One, involved

50 grams or more of methamphetamine, a controlled substance, in violation of Title 21,

United States Code, Section 841(b)(1)(A)(viii).

      In violation of Title 21, United States Code, Section 846.

                                       COUNT 2
                    DISTRIBUTION OF A CONTROLLED SUBSTANCE
                                [21 U.S.C. § 841(a)(1)]

      On or about August 28, 2020, in the District of Kansas, the defendant,

                               ALEJANDRO ARROYO,

did unlawfully, knowingly, and intentionally distribute 50 grams or more of

methamphetamine (actual), a controlled substance.

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)

and Title 18, United States Code, Section 2.




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                                       COUNT 3
                    DISTRIBUTION OF A CONTROLLED SUBSTANCE
                                [21 U.S.C. § 841(a)(1)]

      On or about September 3, 2020, in the District of Kansas, the defendant,

                                  JORGE SANTANA
                                    a/k/a SERIO,

did unlawfully, knowingly, and intentionally distribute 50 grams or more of

methamphetamine (actual), a controlled substance.

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)

and Title 18, United States Code, Section 2.

                                       COUNT 4
                    DISTRIBUTION OF A CONTROLLED SUBSTANCE
                                [21 U.S.C. § 841(a)(1)]

      On or about September 9, 2020, in the District of Kansas, the defendant,

                                  JORGE SANTANA
                                    a/k/a SERIO,

did unlawfully, knowingly, and intentionally distribute 50 grams or more of

methamphetamine (actual), a controlled substance.

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)

and Title 18, United States Code, Section 2.




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                                       COUNT 5
                    DISTRIBUTION OF A CONTROLLED SUBSTANCE
                                [21 U.S.C. § 841(a)(1)]

       On or about September 18, 2020, in the District of Kansas, the defendant,

                                  JORGE SANTANA
                                    a/k/a SERIO,

did unlawfully, knowingly, and intentionally distribute 50 grams or more of

methamphetamine (actual), a controlled substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)

and Title 18, United States Code, Section 2.

                                       COUNT 6
                           POSSESS WITH THE INTENT TO
                       DISTRIBUTE A CONTROLLED SUBSTANCE
                                [21 U.S.C. § 841(a)(1)]

       On or about September 25, 2020, in the District of Kansas, the defendant,

                                  JORGE SANTANA
                                    a/k/a SERIO,

did unlawfully, knowingly, and intentionally possess with the intent to distribute 50 grams

or more of methamphetamine (actual), a controlled substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)

and Title 18, United States Code, Section 2.




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                                       COUNT 7

                    DISTRIBUTION OF A CONTROLLED SUBSTANCE
                                [21 U.S.C. § 841(a)(1)]

      On or about October 7, 2020, in the District of Kansas, the defendant,

                               ALEJANDRO ARROYO,

did unlawfully, knowingly, and intentionally distribute 50 grams or more of

methamphetamine (actual), a controlled substance.

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)

and Title 18, United States Code, Section 2.

                                       COUNT 8
                    DISTRIBUTION OF A CONTROLLED SUBSTANCE
                                [21 U.S.C. § 841(a)(1)]

      On or about October 13, 2020, in the District of Kansas, the defendant,

                               ALEJANDRO ARROYO,

did unlawfully, knowingly, and intentionally distribute 50 grams or more of

methamphetamine (actual), a controlled substance.

      In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)

and Title 18, United States Code, Section 2.

                                       COUNT 9
                           POSSESS WITH THE INTENT TO
                       DISTRIBUTE A CONTROLLED SUBSTANCE
                                [21 U.S.C. § 841(a)(1)]

      On or about October 15, 2020, in the District of Kansas, the defendant,

                               ALEJANDRO ARROYO,


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did unlawfully, knowingly, and intentionally possess with the intent to distribute 50 grams

or more of methamphetamine (actual), a controlled substance.

       In violation of Title 21, United States Code, Sections 841(a)(1) and 841(b)(1)(A)

and Title 18, United States Code, Section 2.

                                        COUNT 10

                                POSSESSION OF A FIREARM
                                 BY A CONVICTED FELON
                                   [18 U.S.C. § 922(g)(1)]

       On or about October 15, 2020 in the District of Kansas, the defendant,

                                ALEJANDRO ARROYO,

knowing that he had previously been convicted of a crime punishable by imprisonment for

a term exceeding one year (a felony), did knowingly and unlawfully possess, in and

affecting commerce, a firearm, which was not produced in the state of Kansas and had been

shipped and transported in interstate commerce.

       In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

                                 FORFEITURE NOTICE

       1.      The allegations contained in Counts 1-10 of this Indictment are hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to

Title 18, United States Code, Section 924(d), Title 21, United States Code, Section 853

and Title 28, United States Code, Section 2461(c)

       2.      Upon conviction of one or more of the offenses set forth in Counts 1-10 of

this Indictment, the defendants shall forfeit to the United States pursuant to Title 18, United

States Code, Section 924(d), and Title 28, United States Code, Section 2461(c), any

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firearms or ammunition involved in the commission of the offenses, including, but not

limited to:

               A.     Glock Model 22, .40 Caliber handgun, serial number KCC085;

               B.     accompanying ammunition.

       All pursuant to Title 18, United States Code, Section 924(d), and Title 28, United

States Code, Section 2461(c).

       3.      Upon conviction of one or more of the offenses set forth in Counts 1-9, the

defendants shall forfeit to the United States, pursuant to Title 21, United States Code,

Section 853, any property constituting or derived from any proceeds obtained, directly or

indirectly, as the result of such offenses and any property used or intended to be used, in

any manner or part, to commit or to facilitate the commission of the offenses, including but

not limited to:

               A.     A forfeiture money judgment against each defendant in an amount
                      equal to the amount of gross proceeds obtained or derived by that
                      defendant from the commission of Counts 1-9;

               B.     Glock Model 22, .40 Caliber handgun, serial number KCC085;

               C.     accompanying ammunition.


       4.      If any of the property described above, as a result of any act or omission of

the defendants:

               A.     cannot be located upon the exercise of due diligence;

               B.     has been transferred or sold to, or deposited with, a third party;

               C.     has been placed beyond the jurisdiction of the court;


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              D.     has been substantially diminished in value; or

              E.     has been commingled with other property which cannot be divided

                     without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant

to Title 21, United States Code, Section 853(p).


                                           A TRUE BILL.


May 19, 2021                               s/Foreperson             x
DATE                                       FOREPERSON OF THE GRAND JURY


DUSTON J. SLINKARD
ACTING UNITED STATES ATTORNEY

By: Aaron L. Smith
AARON L. SMITH
Assistant United States Attorney
District of Kansas
1200 Epic Center, 301 N. Main
Wichita, Kansas 67202
Ph: (316) 269-6481
Fax: (316) 269-6484
Email: aaron.smith3@usdoj.gov
Ks. S. Ct. No. 20447



    IT IS REQUESTED THAT THE TRIAL BE HELD IN WICHITA, KANSAS




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                                               PENALTIES

Counts 1-9

    •    Punishable by a term of imprisonment of not less than ten (10) years and no more than life
         imprisonment.
         21 U.S.C. § 841(b)(1)(A), 21 U.S.C. § 846.

    •    A term of supervised release of at least five (5) years.
         21 U.S.C. § 841(b)(1)(A).

    •    A fine not to exceed $10 million.
         21 U.S.C. § 841(b)(1)(A).

    •    A mandatory special assessment of $100.00.
         18 U.S.C. § 3013(a)(2)(A).

    •    Forfeiture.

If the defendant commits such a violation after a prior conviction for a serious drug felony or serious
violent felony has become final, the penalties are:

    •    A term of imprisonment of not less than fifteen (15) years and no more than life.
         21 U.S.C. § 841(b)(1)(A).

    •    A term of supervised release of at least ten (10) years.
         21 U.S.C. § 841(b)(1)(A).

    •    A fine not to exceed $20 million.
         21 U.S.C. § 841(b)(1)(A).

    •    A mandatory special assessment of $100.00.
         18 U.S.C. § 3013(a)(2)(A).

    •    Forfeiture.

Count 10

    •    Punishable by a term of imprisonment of not more than ten (10) years.
         18 U.S.C. § 924(a)(2).

    •    A term of supervised release of not more than three (3) years.
         18 U.S.C. § 3583(b)(2).

    •    A fine not to exceed $250,000.
         18 U.S.C. § 3571(b)(3).

     • A mandatory special assessment of $100.00. 18 U.S.C. § 3013(a)(2)(A).

    •    Forfeiture.

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